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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO


ANDREW SCHOBER,

                    Plaintiff,
                                                    Civil Action No. 1:21-cv-01382
vs.

BENEDICT THOMPSON, OLIVER READ,
EDWARD J. THOMPSON, CLAIRE L.
THOMPSON, PAUL READ, and HAZEL
DAVINA WELLS,

                    Defendants.


                       MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Rule 5(b) of the Local Rules of the United States District Court for

the District of Colorado, Samuel Ballard, Esq., counsel for Plaintiff Andrew Schober,

hereby respectfully requests leave to withdraw as counsel in the above-captioned

matter, and that his name be removed from the counsel list:

       1.    Mr. Ballard has accepted a position outside of the Firm and has

terminated his association with Anderson Kill LLP effective September 17, 2021.

       2.    Dylan G. LaMorte, Esq., counsel at Anderson Kill P.C., has filed his

appearance in this matter on September 28, 2021. Therefore, Andrew Schober remains

represented by counsel.

       3.    My withdraw from representation of Plaintiff will neither prejudice any party

nor cause any material delay to these proceedings.

       4.    There is no trial date set in this matter.




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       WHEREFORE, it is respectfully requested that the Court enter an Order granting

leave to withdraw Samuel Ballard, Esq. from the representation of Plaintiff and remove

Samuel Ballard, Esq. from the counsel list in this matter.


Dated: October 1, 2021                     ANDERSON KILL LLP.

                                           By:    /s/ Samuel Ballard
                                                 Samuel Ballard, Esq.
                                                 ANDERSON KILL LLP
                                                 1717 Pennsylvania Avenue NW
                                                 Suite 200
                                                 Washington, D.C. 20006
                                                 Phone: (202) 416-6559
                                                 Email: sballard@andersonkill.com

                                                 Attorney for Plaintiff Andrew Schober




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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 1 day of October 2021 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following email addresses:

              Sarah Jackson Donahue
              sdonahue@fncslaw.com

        I hereby certify that I have mailed or served the foregoing document or paper to
the following non-CM/ECF participants in the manner (mail, hand-delivery, etc.)
indicated by the non-participant’s name:

              Oliver Read
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              Andrew Schober
              6200 Habitat Dr. #2037
              Boulder, CO 80301
              aschobe@gmail.com



                                              /s/ _Samuel Ballard _________




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BENEDICT THOMPSON, OLIVER READ,
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THOMPSON, PAUL READ, and HAZEL
DAVINA WELLS,

                    Defendants.



                                  [Proposed] Order



        Upon consideration of the Motion to Withdraw As Counsel; and for good cause

shown, it is on this ______ day of October, 2021, hereby


        ORDERED that the Motion is GRANTED.


        SO ORDERED.




                                              Magistrate Judge Nina Y. Wang




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